35 F.3d 556
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Marion HEAD, Jr., Plaintiff Appellant,v.STATE of North Carolina;  United States Of America,Defendants Appellees.
    No. 94-6714.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 19, 1994Decided:  August 18, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-94-215-5-F)
      Joseph Marion Head, Jr., Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Head v. North Carolina, No. CA-94-215-5-F (E.D.N.C. June 17, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    